 

 

Case 07-19162 : iled 06/11/08 Page 1 of 2

°
A, Settlement Statement U.S, Dapaitinent of Housing W
and Urban Qevelopment OMB No, 2502-0265
Type of Loan .
FHA 2.0 RKS. 3.E Conv. Unins, | 5: Fie Number 7. Loan Number 8. Mortgage insurance Case Nunber
VA 5.0 Conv. ns, OSWMS27A 31806089 :

Note: This form is furnishad to you a statement of aciua! settlement costs, Amounts paid to and by the settiament egent are sheave. Hams
marked outside fie ave shown hare for information and ave pot Indudad in the tolals,

Name and Address of Sorawer E, Name and Address of Seller FE. Name and Addrass of Leader
Keith 5. STEVENS First Savings Mortgage Corporation
Matissia L. STEVENS 8444 Weatpark Drive, #400
10314 Catron Road MeLean, VA 22102
Posty Hall, Maxyland 22128

Property Looaten Settlement Agent
+08E4 Catron Road Potomac Settlement Services, inc. t/a Unity Tithe
Perry Hall, Maryland 22128
‘Lot 87, FIELDS OF WHITE MARSH af Setterment |. Settlement Bate
Baltimore County, TIO# 2400-D04863 RG Fountainhead 07/31/06
7939 Honey go Boulevard, #124
White

PAID BY OR IN BEHALF OF

of new Setiement
texan

 

 

RESPA, HB 4305.2 - REV. HUDI("

   
 

Case 07-19162...Doc.67-6-Filed 06/11/08... Page 2 of 2

 

 

' RESPA, HE 4306.2 » REV, HUDA(aG}
